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FoR THE WEsTERN DtsTRtCT or TENNESSEE
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GARDEN CITY BoXING, -.a» t
g.»_t. 1;§3. DlST. ii
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Plaintiff,
v_ NO. 03-2451 _ e/An

P a c CAFE, 1NC. d/b/a P a C CAFP:
ama AFTER DARK BAR & GRiLL,

Defendant.

 

ORDER TO SHOW CAUSE

 

Upon the motion of the Plaintiff, Garden City Boxing, for default against the Defendant, P
& C Café, Inc., the Clerk ofCourt entered an order granting the request for entry of default on April
22, 2005. Hovvever, according to the Court’s docket, the Plaintiff has not filed a motion for default
judgment against the Defendant in accordance With Rule 55(b) of the Federal Rules of Civil
Procedure or taken any other action to conclude this matter. Rule 55(b)(2) provides that "the party
entitled to ajudgment by default shall apply to the court therefor.” Fed. R. Civ. P. 55(b)(2).

Accordingly, since no request for a defaultjudgrnent has been made by the Plaintiff, it is
hereby ORDERED to SHOW CAUSE Within eleven (l l) days of the entry of this order why the
lawsuit should not be dismissed for failure to prosecute Failure to respond to the Court’s directive
may result in dismissal of the Plaintiff’s claims

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J ust BREEN \
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Ttn`s document entered on the docket sheet in complian
with Hule 55 and/or 79(3) FHCP on j“ ;’ 5 Ce

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:03-CV-02451 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Wayne D. Lonstein
LONSTEIN LAW OFFICE PC
l Terrace Hill

P.O. Box 3 51

Ellenville, NY 12428

Honorable .l. Breen
US DISTRICT COURT

